f

We Case 1:18-cr-O0066-DKC Document1 Filed 02/06/18 Page 1 of 2

\ , . = ome a “D

‘nl leone 3 Le oF COURT
CLD&SW: USAO2018R00062 , NSTALCT OF MALY] 235

IN THE UNITED STATES DISTRICT COURT 2!/8F EB - “6 PH 5:29
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA * CRIMINAL NO. DKC 4 0: 806
* fa “Te b
Vv. * (Conspiracy and Interference with
* Commerce by Robbery, 18 U.S.C.
*  §1951(a); Aiding & Abetting, 18 U.S.C.
DONALD MARCELL RIVERS JR., * - §2)
TIMOTHY MICHAEL MCLAIN, and *
ASHLEY NICOLE COLLIER, *
*
Defendants. *
*
oR ik os ok ok ook ok ok
INDICTMENT
COUNT ONE

(Conspiracy and Interference with Commerce by Robbery)

The Grand Jury for the District of Maryland charges that:

1. At all times material to this Indictment, the BB&T Bank, located at 1326 Salem
Avenue, Hagerstown, Maryland, was engaged in providing banking services to business and
individual consumers in interstate commerce and the business of the BB&T Bank affected
interstate commerce.

2. Beginning at least on January 9, 2018, in the District of Maryland, the defendants,

DONALD MARCELL RIVERS JR.,
TIMOTHY MICHAEL MCLAIN, and
ASHLEY NICOLE COLLIER,
did knowingly, obstruct, delay and affect, and attempt to obstruct, delay and affect, commerce as
that term is defined in Title 18, United States Code, Section 1951, and the movement of articles

and commodities in commerce, by robbery, as that term is defined in Title 18, United States Code,

Section 1951, and did knowingly conspire with one another to do same, in that the defendants did
Case 1:18-cr-O0066-DKC Document1 Filed 02/06/18 Page 2 of 2

conspire to and did unlawfully take and obtain money and property belonging to the BB&T Bank
from the person of and in the presence of employees of the BB&T Bank, against the employees’
will by means of actual and threatened force, violence, and fear of injury, immediate and future,

to the employees’ person and property in the employees’ custody and possession.

isUSC§2 Stephan. ial j fa Op
| : asla__/) £

Sain M. Schenning
Acting United States Attorney

 

A TRUEBILL:.. -__.
SIGNATURE REDACTED 2 b-/ &
—FOREPERSON | Date
